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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF KENTUCKY
                                CENTRAL DIVISION
                                   FRANKFORT

  MATTHEW G. BEVIN, ex rel                     )
  COMMONWEALTH OF KENTUCKY,                    )
  et al.,                                      )          Civ. No: 3:18-cv-00008-GFVT
                                               )
         Plaintiffs,                           )                JUDGMENT
                                               )
  V.                                           )
                                               )
  RONNIE MAURICE STEWART, et al.,              )
                                               )
         Defendants.
                                   ***   ***       ***   ***

       In accordance with the Memorandum Opinion and Order entered this date, and pursuant

to Rule 58 of the Federal Rules of Civil Procedure, it is ORDERED AND ADJUDGED:

       1. Judgment is ENTERED in favor of the Defendants;

       2. This is a FINAL and APPEALABLE ORDER and there is no just cause for delay;

          and

       3. All issues having been resolved, this case is STRICKEN from the active docket.

       This 20th day of August, 2018.
